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                IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA

EDNA GARCIA-DIPINI                     :      CIVIL ACTION
               Plaintiff,              :
                                       :
             v.                        :
                                       :      NO. 21-cv-02186-RAL
LARRY PITT & ASSOCIATES                :
                Defendant.             :

                                      ORDER

      It is, on this 25th day of April, 2022, ORDERED that the hearing on Tuesday, April

26, 2022, to Show Cause why the defendant’s motion should not be granted, and sanctions

imposed, and to determine the appropriate sanctions, is CANCELED. It will now be held on

Wednesday, June 15, 2022, at 10:00 a.m. in Courtroom 3D of the United States

Courthouse, 601 Market Street, Philadelphia, Pennsylvania. Plaintiff must

attend the hearing in person.



                                              BY THE COURT:



                                              _s/Richard A. Lloret_________
                                              RICHARD A. LLORET
                                              U.S. Magistrate Judge
